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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 THERESA NELSON,
                                                       CIVIL ACTION
       Plaintiff,

 v.                                                    COMPLAINT 1:17-cv-02993

 FULL CIRCLE FINANCIAL
 SERVICES, LLC,                                        JURY TRIAL DEMANDED

       Defendant.

                                           COMPLAINT

        NOW comes THERESA NELSON (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of FULL CIRCLE FINANCIAL

SERVICES, LLC (“Defendant”) as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq. and the Indiana Deceptive Consumer Sales Act (“IDCSA”) under

I.C. 24-5-0.5 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law IDCSA claim pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Southern District of Indiana and a substantial portion of the events or omissions giving rise

to the claims occurred within the Southern District of Indiana.

                                              PARTIES

   4. Plaintiff is a natural person over 18 years-of-age residing at 1270 Ridgeview Drive,

Indianapolis, Indiana, which falls within the Southern District of Indiana.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant in the business of collecting consumer debts for others, including debt allegedly

owed by Plaintiff. Defendant is incorporated in Florida and its principal place of business is

located at 710 1st Avenue Southwest, Suite 100, Largo, Florida.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers at all

times relevant to the instant action.

                              FACTS SUPPORTING CAUSES OF ACTION

   9.   In approximately February 2017, Plaintiff began receiving calls to her cellular phone,

(317) XXX-1907 from Defendant.

   10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 1907. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   11. Defendant has mainly used the phone number (317) 870-1745 when placing calls to

Plaintiff’s cellular phone.




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    12. Upon information and belief, the above-referenced phone number ending in 1745 is

regularly utilized by Defendant to contact consumers during its debt collection activity.

    13. When Plaintiff answers calls from Defendant, she experiences an automated message

before she is connected with a live representative.

    14. Upon speaking with one of Defendant’s representatives, Plaintiff is apprised that it is

seeking to collect payment on an outstanding debt.

    15. Unable to make payment, Plaintiff demanded that Defendant stop calling her.

    16. Despite her demands, Defendant continued to persistently call Plaintiff’s cellular phone

on a regular basis up until May 2017.

    17. Plaintiff reiterated her demands that Defendant stop calling her during subsequent phone

calls.

    18. Plaintiff has received not less than 18 phone calls from Defendant since asking it to stop

calling.

    19. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

resulting in expenses.

    20. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the never-ending

calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular

phone functionality, decreased battery life on her cellular phone, and diminished space for data

storage on her cellular phone.




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            COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 21 as though full set forth herein.

   23. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   24. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   25. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others.

   26. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

       a.      Violations of the FDCPA §1692c(a)(1) and §1692d

   27. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

   28. Defendant violated §1692c(a)(1), d and d(5) when it continuously called Plaintiff after

being notified to stop. This repeated behavior of systematically calling Plaintiff’s phone on a daily

basis in spite of her demands was harassing and abusive. The frequency and volume of calls shows

that Defendant willfully ignored Plaintiff’s pleas with the goal of annoying and harassing her.

   29. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to Plaintiff.

       b. Violations of the FDCPA § 1692e




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    30. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

    31. In addition, this section enumerates specific violations, such as:

             “The use of any false representation or deceptive means to collect or attempt to
             collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
             §1692e(10).

    32. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. Plaintiff told Defendant on numerous occasions that she did not

wish to be contacted, but yet, it continued to call her in an attempt to collect upon a debt. Through

its conduct, Defendant misleadingly represented to Plaintiff that it had the legal ability to contact

her via an automated system when it no longer had consent to do so. Through its conduct,

Defendant misleadingly represented to Plaintiff that it had the legal ability to contact her via

automated calls when it no longer had consent to do so.

         c. Violations of FDCPA § 1692f

    33. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    34. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff after being notified to stop. Attempting to coerce Plaintiff

into payment by placing voluminous phone calls without her permission is unfair and

unconscionable behavior. These means employed by Defendant only served to worry and confuse

Plaintiff.

    35. As pled in paragraphs 18 through 21, Plaintiff has been harmed and suffered damages as

a result of Defendant’s illegal actions.



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   WHEREFORE, Plaintiff, THERESA NELSON, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3);

   e. Enjoining Defendant from further contacting Plaintiff; and

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

         COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   36. Plaintiff repeats and realleges paragraphs 1 through 35 as though fully set forth herein.

   37. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   38. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The automated message which Plaintiff experiences during answered

calls from Defendant is instructive that an ATDS is being utilized to generate the phone calls.

Additionally, the nature and frequency of Defendant’s contacts, including on onslaught of multiple

calls per day on several days, points to the involvement of an ATDS.




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   39. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without her consent. Any consent Plaintiff may have given to the original party of

interest, which Defendant will likely assert transfers down to it, was explicitly revoked by

Plaintiff’s demands to cease calling her cellular phone.

   40. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   41. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, THERESA NELSON, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


        COUNT III – VIOLATIONS OF THE INDIANA DECEPTIVE CONSUMER SALES ACT

   42. Plaintiff repeats and realleges paragraphs 1 through 41 as though fully set forth herein.

   43. Defendant violated I.C. 24-5-0.5-3(a) and (b)(19) by engaging in an unfair, abusive and

deceptive practice through its systematic collection efforts towards Plaintiff.

   44. The IDCSA states:

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               “A supplier may not commit an unfair, abusive, or deceptive act,
               omission, or practice in connection with a consumer transaction.
               Such an act, omission, or practice by a supplier is a violation of this
               chapter whether it occurs before, during, or after the transaction. An
               act, omission, or practice prohibited by this section includes both
               implicit and explicit misrepresentations.” I.C. 24-5-0.5-3(a).

               “Without limiting the scope of subsection (a), the following acts,
               and the following representations as to the subject matter of a
               consumer transaction, made orally, in writing, or by electronic
               communication, by a supplier are deceptive acts: The violation by a
               supplier of 47 U.S.C. 227, including any rules or regulations issued
               under 47 U.S.C. 227.” I.C. 24-5-0.5-3(b)(19).

   45. Plaintiff is a “person” as defined by the IDCSA, I.C. 24-5-0.5-2(a)(2).

   46. Defendant is a “supplier” as defined by the IDCSA, I.C. 24-5-0.5-2(a)(3).

   47. Defendant’s collection calls to Plaintiff were “consumer transactions” as defined by the

IDCSA, I.C. 24-5-0.5-2(a)(1)(C).

   48. Defendant engaged in unfair, abusive, and deceptive behavior in its transactions with

Plaintiff. Through systematic and frequent collection attempts, Defendant has used an ATDS to

relentlessly contact Plaintiff. Defendant was specifically notified by Plaintiff to stop contacting

her but refused to do so. Any consent Plaintiff may have given to the original party of interest was

explicitly revoked by her demands that Defendant cease contacting her. However, Defendant

purposefully ignored Plaintiff’s prompts in an abusive attempt to collect payment from her.

   49. Through its conduct, Defendant falsely represented that it had the lawful ability to contact

Plaintiff through means of an ATDS. Once Plaintiff first demanded that it stop calling her,

Defendant was obligated under the TCPA to cease its contacts. In defiance of the law, however,

Defendant continued its deceptive conduct and has continued to contact Plaintiff several times

thereafter. Upon information and belief, Defendant engages in this conduct on a systematic and




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frequent basis, knowing that consumers are unlikely to be aware of their rights and susceptible to

sustained pressure.

    50. In violating the TCPA, Defendant also violated one of the specifically enumerated prongs

of the IDCSA, I.C. 24-5-0.5-3(b)(19). “In other words, an IDCSA claim may be based on one or

more of the acts or representations on the list. A claim may be based only on an enumerated act,

and not a representations at all.” Anderson v. O’Leary Paint Co., 2011 U.S. Dist. LEXIS 110837

at 17.

    51. In violating the TCPA, Defendant engaged in illegal behavior during its collection efforts

towards Plaintiff. Defendant intended that Plaintiff rely on its illegal behavior. The IDCSA was

designed to protect consumers, such as Plaintiff, from the exact behavior committed by Defendant.

    52. The IDCSA further states:

                “A person relying upon an uncured or incurable deceptive act may
                bring an action for the damages actually suffered as a consumer as
                a result of the deceptive act or five hundred dollars ($500),
                whichever is greater. The court may increase damages for a willful
                deceptive act in an amount that does not exceed the greater of: (1)
                three (3) times the actual damages of the consumer suffering the
                loss; or (2) one thousand dollars ($1,000).” I.C. 24-5-0.5-4(a)(1)(2).

    53. Although unsuccessful, Plaintiff made attempts to correct Defendant’s incurable deceptive

acts by demanding that it cease contacting her. However, Defendant’s conduct is an incurable

deceptive act of which notice would not remedy. The fact that Defendant was provided with

notices to stop calling and refused to abide by said notices, evidenced by calling Plaintiff at least

18 times after she told it to stop, shows that its behavior is incurable and that it has no intention of

curbing its behavior.




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     54. Defendant conducts the above described behavior on a wide and frequent basis. This goes

 against the state’s goal of preventing the phone from frequently ringing with unwanted calls. Every

 call uses some of the phone owner’s time and mental energy, both of which are precious.

     55. In addition to inhibiting Plaintiff’s time and energy, as pled in paragraphs 18 through 21,

 Plaintiff has suffered damages as a result of Defendant’s unlawful collection practices. Plaintiff

 is entitled to relief pursuant to I.C. 24-5-0.5-4(a)(1)(2).Plaintiff is entitled to relief pursuant to I.C.

 24-5-0.5-4(a)(1)(2).

     WHEREFORE, Plaintiff, THERESA NELSON, respectfully requests that this Honorable

 Court enter judgment in her favor as follows:

     a. Declaring that the practices complained of herein are unlawful and violate the
        aforementioned statutes and regulations;

     b. Awarding Plaintiff damages, in an amount to be determined at trial, as provided under
        I.C. 24-5-0.5-4(a)(1)(2);

     c. Awarding Plaintiff costs and reasonable attorney fees as provided under I.C. 24-5-0.5-
        4(a);

     d. Enjoining Defendant to cease contacting Plaintiff; and

     e.   Awarding any other relief as this Honorable Court deems just and appropriate.

 Dated: August 30, 2017                                   Respectfully submitted,

 s/ Nathan C. Volheim                                      s/Taxiarchis Hatzidimitriadis
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